       Case: 3:13-cv-00497-jdp Document #: 110 Filed: 06/02/15 Page 1 of 1



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN


KATHLEEN A. WAGNER,

                     Plaintiff,                         JUDGMENT IN A CIVIL CASE

       v.                                                   Case No. 13-cv-497-jdp

PFIZER INC., TEVA PHARMACEUTICAL
INDUSTRIES, LTD., WYETH LLC, GREENSTONE LLC,
PHARMACIA LLC, WYETH PHARMACEUTICALS INC.,
ESI LADERLE, DURAMED PHARMACEUTICALS, INC.,
PHARMACIA AND UPJOHN LLC,
PHARMACIA AND UPJOHN COMPANY LLC,
TEVA PHARMACEUTICALS USA. INC.,
BARR PHARMACEUTICALS, LLC and
BARR LABORATORIES, INC.,

                     Defendants.


      This action came for consideration before the court with District Judge
James D. Peterson presiding. The issues have been considered and a decision has been
rendered.



       IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendants Teva Pharmaceuticals USA, Inc., Barr Pharmaceuticals, LLC (f/k/a Barr

Pharmaceuticals Inc.) and Barr Laboratories, Inc. against plaintiff Kathleen A. Wagner

granting defendants’ motion for judgment on the pleadings and dismissing defendants

Teva Pharmaceuticals USA, Inc., Barr Pharmaceuticals, LLC and Barr Laboratories, Inc.

from this case with prejudice.




          s/ A. Wiseman, Deputy Clerk
    _____________________________________                     June 2, 2015
                                                        _______________________
        Peter Oppeneer, Clerk of Court                            Date
